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19
                               UNITED STATES DISTRICT COURT
20                           NORTHERN DISTRICT OF CALIFORNIA

21    ANIBAL RODRIGUEZ, SAL CATALDO,               Case No.: 3:20-cv-04688-RS
      JULIAN SANTIAGO, and SUSAN LYNN
22    HARVEY individually and on behalf of all     PLAINTIFFS’ ADMINISTRATIVE
      other similarly situated,
23                                                 MOTION TO FILE UNDER SEAL
                   Plaintiffs,                     PORTIONS OF PLAINTIFFS’ MOTION
24                                                 FOR CLASS CERTIFICATION
       vs.
25                                                 Judge: Hon. Richard Seeborg
       GOOGLE LLC,                                 Courtroom 3 – 17th Floor
26                                                 Date: October 5, 2023
                   Defendant.
27                                                 Time: 1:30 p.m.

28

                                                       PLAINTIFFS’ ADMINISTRATIVE MOTION TO SEAL
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1            Pursuant to Civil Local Rule 7-11 and 79-5 and the Stipulated Protective Order entered in
2     this matter, Plaintiffs respectfully submit this Administrative Motion to Seal the following material
3     submitted with Plaintiffs’ motion for class certification.
4      Document or Portion of Document               Party Claiming      Basis for Sealing
       Sought to Be Sealed                           Confidentiality
5      March 22, 2023 Expert Report of               Plaintiffs          Refers to Material Designated
       Plaintiffs’ Expert Jonathan Hochman                               “Confidential” by Plaintiffs
6
       (“Hochman Report”): Portions                                      pursuant to the Protective
7      highlighted in teal in paragraphs 149,                            Order
       152, 182, 191, 192, 244, and 246
8      Hochman Report Appendix A (entirety)          Plaintiffs          Refers to Material Designated
                                                                         “Confidential” by Plaintiffs
9                                                                        pursuant to the Protective
10                                                                       Order
       Hochman Report Appendix B.1 (entirety) Plaintiffs                 Refers to Material Designated
11                                                                       “Confidential” by Plaintiffs
                                                                         pursuant to the Protective
12                                                                       Order
       Hochman Report Appendix B.2 (entirety) Plaintiffs                 Refers to Material Designated
13
                                                                         “Confidential” by Plaintiffs
14                                                                       pursuant to the Protective
                                                                         Order
15     Hochman Report Appendix C                     Plaintiffs          Refers to Material Designated
                                                                         “Confidential” by Plaintiffs
16                                                                       pursuant to the Protective
                                                                         Order
17
       Hochman Report Appendix D                     Plaintiffs          Refers to Material Designated
18                                                                       “Confidential” by Plaintiffs
                                                                         pursuant to the Protective
19                                                                       Order
       Hochman Report Appendix K                     Plaintiffs          Refers to Material Designated
20                                                                       “Confidential” by Plaintiffs
21                                                                       pursuant to the Protective
                                                                         Order
22
       Plaintiffs’ Motion for Class Certification: Google                Refers to Material Designated
23     portions highlighted in yellow throughout                         “Confidential” and “Highly
                                                                         Confidential – Attorneys’ Eyes
24
                                                                         Only” by Google pursuant to
25                                                                       the Protective Order
       Plaintiffs’ Trial Plan in Support of          Google              Refers to Material Designated
26     Plaintiffs’ Motion for Class Certification:                       “Confidential” and “Highly
       portions highlighted in yellow                                    Confidential – Attorneys’ Eyes
27

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                                                                       Only” by Google pursuant to
1
                                                                       the Protective Order
2     Mao Declaration in Support of Plaintiffs’     Google             Material Designated
      Motion for Class Certification: Entirety                         “Confidential” and “Highly
3     of Exhibits 1, 2, 4, 5, 6, 7, 8, 9, 10, 11,                      Confidential – Attorneys’ Eyes
      13, 14, 15, 16, 17, 19, 20, 42, 43, 49, 50,                      Only” by Google pursuant to
4     51, 54, 55, 56, 57, 58, 59, 60, 61, 62, 63,                      the Protective Order
5     65, 66, 67, 68, and 69.
      Expert Report of Plaintiffs’ Expert           Google             Refers throughout to Material
6     Jonathan Hochman (entirety)                                      Designated “Confidential” and
                                                                       “Highly Confidential –
7                                                                      Attorneys’ Eyes Only” by
                                                                       Google pursuant to the
8                                                                      Protective Order
9     Expert Report of Plaintiffs’ Expert Bruce     Google             Refers throughout to Material
      Schneier (entirety)                                              Designated “Confidential” and
10                                                                     “Highly Confidential –
                                                                       Attorneys’ Eyes Only” by
11                                                                     Google pursuant to the
                                                                       Protective Order
12
      Expert Report of Plaintiffs’ Expert           Google             Refers throughout to Material
13    Michael Lasinski (entirety)                                      Designated “Confidential” and
                                                                       “Highly Confidential –
14                                                                     Attorneys’ Eyes Only” by
                                                                       Google pursuant to the
15                                                                     Protective Order
16    Expert Report of Plaintiffs’ Expert           Google             Refers to Material Designated
      Cameron Azari (entirety)                                         “Confidential” and “Highly
17                                                                     Confidential – Attorneys’ Eyes
                                                                       Only” by Google pursuant to
18                                                                     the Protective Order
19 I.       LEGAL STANDARD
20          A.      Party Seeking to Seal Its Own Records
21          “The public has a right of access to the Court’s files.” Civil L.R. 79-5(a). The presumption
22 of public access can be overcome where the sealing party “articulate[s] compelling reasons

23 supported by specific factual findings . . . that outweigh . . . public policies favoring disclosure

24 such as the public interest in understanding the judicial process.” Kamakana v. City & County of

25 Honolulu, 447 F.3d 1172, 1178–79 (9th Cir. 2006) (citations omitted). Courts “must

26 conscientiously balance the competing interests of the public and the party who seeks to keep

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1     certain judicial records secret.” Id. (citing Foltz v. State Farm Mut. Auto Ins. Co., 331 F.3d
2     1122, 1135 (9th Cir. 2003)) (marks omitted).
3             B.      Party Seeking to Seal Another Party’s Records
4             Many of the documents listed above quote, summarize, or otherwise reflect information
5     that Defendant, Google LLC (“Google”) has designated as “Confidential” or “Highly Confidential
6     – Attorneys’ Eyes Only” under the parties’ stipulated protective order. Dkt. 70. Pursuant to Civil
7     Local Rules 79-5(c)(1) and 79-5(f)(3), Google, as the designating party, bears the burden of
8     establishing that all of the designated material is sealable. At present, Plaintiffs take no position as
9     to whether the material Google designated under the protective order is sealable.
10 II.        ARGUMENT
11            Plaintiffs seek to seal limited portions of the expert report submitted by their technical
12 expert, Mr. Jonathan Hochman. These portions contain material that Plaintiffs are designating

13 “Confidential” pursuant to the parties’ stipulated Protective Order. Specifically, the portions

14 sought to be sealed associate one of the named Plaintiffs with various identifiers. E.g., Hochman

15 Report ¶ 192 (discussing a named Plaintiff’s phone number, zip code, and device information). In

16 other cases, Plaintiffs seek to seal spreadsheets containing and analyzing records produced from

17 Google’s logs, which Plaintiffs expect Google will in any event seek to seal. Plaintiffs’ narrowly

18 tailored proposals “will not interfere with the public’s ability to understand the judicial process.”
19 Ojmar US, LLC v. Sec. People, Inc., No. 16-cv-04948-HSG, 2016 WL 6091543, at *2 (N.D. Cal.

20 Oct. 19, 2016). Plaintiffs are not seeking to redact any of Mr. Hochman’s opinions.

21            Furthermore, “an individual’s privacy interest” is a compelling reason to seal a document.
22 Nursing Home Pension Fund v. Oracle Corp., No. C01-0100988 MJJ, 2007 WL 3232267, at *2

23 (N.D. Cal. Nov. 1, 2007) (allowing redaction of home addresses and financial account

24 information); Pension Plan for Pension Tr. Fund for Operating Eng’rs. v. Giacalone Elec. Servs.,

25 Inc., No. 13-cv-02338-SI, 2015 WL 3956143, at *10 (N.D. Cal. June 29, 2015). Courts in this

26 District have previously granted substantially similar motions to seal similar materials. See

27 Calhoun v. Google LLC., No. 4:20-cv-05146-YGR-SVK (N.D. Cal.), Dkt. 198 (sealing Calhoun

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1     plaintiffs’ web browsing history and information); Brown v. Google, No. 4:20-cv-03664-YGR
2     (N.D. Cal.), Dkt. 804 (sealing Brown plaintiffs’ web browsing history and information).
3            Additionally, public exposure of the information that Plaintiffs seek to seal could subject
4     Plaintiffs to a risk of identity theft. See, e.g., Adkins v. Facebook, Inc., 424 F. Supp. 3d 686, 689
5     (N.D. Cal. 2019) (recognizing that identifiers enable malicious actors to access consumers’
6     accounts); McDonald v. CP OpCo, LLC, 2019 WL 343470, at *9 (N.D. Cal. Jan. 28, 2019) (sealing
7     email addresses, recognizing that the email addresses “could become a vehicle for improper
8     purposes”).
9     III.   CONCLUSION
10           For the reasons articulated herein, Plaintiffs respectfully request that the Court grant their
11 Administrative Motion to Seal. Plaintiffs presently take no position on Google’s designated

12 materials, and will review Google’s submitted declaration in support of sealing upon filing and

13 respond if necessary.

14 Dated: July 20, 2023                             Respectfully submitted,
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